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5
     Attorney for Petitioner
6    HOLLISTER GEORGE
7
8                        IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   HOLLISTER GEORGE,               )     1:08 CV 132 AWI MJS
                                     )
12                  Petitioner,      )     STIPULATION AND ORDER TO
                                     )     TERMINATE SUPERVISION
13        v.                         )
                                     )
14   W.J. SULLIVAN,                  )     Honorable ANTHONY W. ISHII
                                     )
15                  Respondent.      )
                                     )
16   _______________________________ )
17        Pursuant to Local Rule 143, Petitioner, HOLLISTER GEORGE, by and
18   through his attorney, Assistant Federal Defender David M. Porter, and
19   Respondent, W.J. Sullivan, by and through his attorney, Deputy Attorney
20   General Christopher J. Rench, hereby stipulate:
21        (1) whereas on September 24, 2011, this Court ordered Mr. George
22   to be released under the supervision of the Federal Pretrial Services
23   Agency upon stipulated conditions of release; and
24        (2) Mr. George, who is employed, is now being actively supervised
25   by Officer Glenane of the Irvine office of the California Department of
26   Corrections and Rehabilitation, Division of Adult Parole Operation and
27   is subject to the conditions of parole imposed by the state parole
28   authorities; accordingly,
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1         (3) the parties agree and stipulate that the Court terminate Mr.
2    George’s supervision by the Federal Pretrial Services Agency and remove
3    the conditions imposed so as to avoid a waste of resources that would
4    expended in maintaining “dual” supervision by both federal and state
5    authorities.
6    DATED:   January 25, 2011
7    Respectfully submitted,
8    KAMALA HARRIS                          DANIEL J. BRODERICK
     Attorney General                       Federal Defender
9
10     /s/ Christopher J. Rench              /s/ David M. Porter
     CHRISTOPHER J. RENCH                   DAVID M. PORTER
11   Deputy Attorney General                Assistant Federal Defender
12   Attorney for Respondent                Attorney for Petitioner
     W.J. SULLIVAN                          HOLLISTER GEORGE
13
14                                        ORDER
15   IT IS SO ORDERED.
16
     Dated:         January 26, 2011
17   0m8i78                              CHIEF UNITED STATES DISTRICT JUDGE
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